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EXHIBIT A
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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF WYOMING

JAYLYN WESTENBROEK, HANNAH,
HOLTMEIER, ALLISON COGHAN, GRACE
CHOATE, MADELINE RAMAR, and MEGAN
KOSAR, on behalf of themselves and
derivatively on behalf of KAPPA KAPPA
GAMMA FRATERNITY.

Plaintiffs,

VS. Civil Action No.: 23-CV-00051-ABJ
KAPPA KAPPA GAMMA FRATERNITY, an
Ohio non-profit corporation, as a Nominal
Defendant and as a Direct Defendant;

MARY PAT ROONEY, President of the
Fraternity Council of KAPPA KAPPA GAMMA
FRATERNITY, in her official capacity, KAPPPA
KAPPA GAMMA BUILDING CO., a Wyoming
non-profit corporation, and ARTEMIS
LANGFORD,

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Defendants.

AFFIDAVIT OF NATALIE M, MCLAUGHLIN IN SUPPORT OF
MOTION FOR ADMISSION PRO HAc VICE

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STATE OF OHIO )
) SS.
COUNTY OF FRANKLIN _ )

Natalie M. McLaughlin, the affiant herein, having been duly sworn, states upon oath:

1. I am admitted to practice law and in good standing to practice law in the state of
Ohio. My Ohio Bar number is 0082203. Iam an attorney at Vorys, SATER, SEYMOUR AND PEASE
LLP, located at 52 East Gay Street, Columbus, Ohio 43215; telephone number (614) 464-6400.
My email address is nmmclaughlin@vorys.com.

2s I have been admitted to the following Courts and Bar Associations:

Ohio Supreme Court (11/5/2007)

United States Court of Appeals for the Second Circuit (1/16/2014)

United States Court of Appeals for the Sixth Circuit (7/6/2009)

United States Court of Appeals for the Eleventh Circuit (10/21/2011)

United States District Court for the Western District of Michigan (5/13/2014)
United States District Court for the Northern District of Ohio (2/22/2010)
United States District Court for the Southern District of Ohio (3/17/2008)

3 | affirm that there are no pending disciplinary proceedings nor public past sanctions
against me in any jurisdiction.

4, ] affirm that, if admitted pro hac vice, I will comply with and be bound by the Local
Rules of the United States District Court for the District of Wyoming.

a: 1 acknowledge that Scott P. Klosterman of WILLIAMS, PORTER, DAY & NEVILLE,
P.C. is required to be fully prepared to represent Defendants Kappa Kappa Gamma Fraternity,
Mary Pat Rooney, and Kappa Kappa Gamma Building Co. in this action at any time, in any

capacity.
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6. I acknowledge that by applying to appear pro hac vice, | submit to and am subject
to the disciplinary jurisdiction of the Court for any alleged misconduct arising in the course of
preparation and representation in the proceedings.

FURTHER AFFIANT SAYETH NAUGHT,

DATED this 23 ay of May, 2023.

Natalie M. McLaughlin

9 th
lhereby certify that on thisA5 day of May, 2023, Natalie M. McLaughlin appeared before
me, a Notary Public in and for the State and County aforesaid, and made oath in due form of law

that the matters set down herein are true and correct to the best of her knowledge, information, and
belief.

orn

& KATHRYN A. YATES oN ne an AU
2 (ee Notary Public, State of Ohto Notary Public
Ea

“tees ay DS ia My Commission expires: lb “ /) | 26a 4
